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                EXHIBIT 3
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 AMERICAN FEDERATION OF LABOR
 AND CONGRESS OF INDUSTRIAL
 ORGANIZATIONS, et al.,                                  Case No. 1:25-cv-00339-JDB

     Plaintiffs,

         v.                                              Judge John D. Bates

 DEPARTMENT OF LABOR, et al.,

     Defendants.




               DEFENDANTS’ OBJECTIONS AND RESPONSES TO
        PLAINTIFFS’ REQUESTS FOR EXPEDITED DISCOVERY, INCLUDING
                        SUPPLEMENTAL RESPONSES

       Pursuant to Federal Rules of Civil Procedure 26, 30, 33, and 34; and to the Local Rules of

the United States District Court for the District of Columbia, Defendants—the U.S. Department

of Labor, Secretary of Labor Lori Chavez-DeRemer, the U.S. Department of Health and Human

Service, Secretary of Health and Human Services Robert F. Kennedy, Jr., the Consumer Financial

Protection Bureau, Acting CFPB Director Rusell Vought, the U.S. Digital Service (U.S. DOGE

Service), and U.S. DOGE Service Temporary Organization—provides the following responses to

Plaintiffs’ discovery requests, as modified by the Court’s March 19, 2025 Memorandum Opinion

and Order, ECF No. 71, and March 31, 2025 Memorandum Opinion and Order, ECF No. 75.

I.     GENERAL OBJECTIONS

       1. The following general objections apply to, and are incorporated in, each individual

response.
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       2. Defendants object to providing any discovery at all at this time, as Defendants have a

pending motion to dismiss that the Court has not yet decided; Defendants have not answered the

amended complaint; there has been no conference of the parties, as required by Rule 26(f) and

Local Civil Rule 16.3(b); and as to Plaintiffs’ Administrative Procedure Act claims, Defendants

have yet to produce an administrative record.

       3. Defendants object to the definitions in Plaintiffs’ requests to the extent that the

definitions conflict with or purport to expand upon the Defendants’ obligations under the Federal

Rules of Civil Procedure, the Local Rules for the United States District Court for the District of

Columbia, or the Court’s orders for discovery, see ECF Nos. 48, 71, 75.

       4. Defendants object to each and every request to the extent that it is deemed to require

disclosure of matters subject to the attorney-client privilege, the attorney work product doctrine,

other applicable privileges, or any statutory or regulatory restriction on disclosure.

       5. Defendants object to the term “DOGE Employee,” as used throughout Plaintiffs’

discovery requests, because the phrase “works for DOGE” and “otherwise works for DOGE” in

Plaintiffs’ definition of that term are vague and ambiguous. Defendants recognize the Court’s

clarification that these terms include members of DOGE Teams, as defined in Executive Order

14,158, 90 Fed. Reg. 8441, § 3(c), “that the defendant agencies have onboarded for the purpose of

carrying out the DOGE Agenda, including those the agencies have directly hired or received as

detailees[,]” after January 20, 2025. ECF No. 75 at 5.

       6. Defendants object to the term “Sensitive Systems,” as used throughout Plaintiffs’

discovery requests, because the phrase “system of records” in Plaintiffs’ definition of “Sensitive

Systems” is undefined and therefore vague and ambiguous. Defendants will interpret the term

“system of records” as it is used by the Privacy Act of 1974, 5 U.S.C. § 552a.



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       7. Defendants object to the term “Access,” as used throughout Plaintiffs’ discovery

requests, because the phrase “directly review records in an agency system” in Plaintiffs’ definition

of that term is vague and ambiguous. Defendants further object that the terms “directly,”

“records,” and “system” are undefined and ambiguous. Defendants will interpret the phrase

“directly” in its usual sense, and understand “records” and “system” as those terms are used in the

Privacy Act, 5 U.S.C. § 552a.

       8. Defendants object to the term “records,” as used throughout Plaintiffs’ discovery

requests, as vague and ambiguous. Defendants will interpret the terms “record” and “records” as

used in the Privacy Act, 5 U.S.C. § 552a.

       9. Defendants reserve the right to amend, supplement, or alter these objections at any time.

       10. Nothing contained in the following specific objections and responses constitutes a

waiver of any applicable objection or privilege as to the requested discovery.

II.    RESERVATION OF RIGHTS AND OBJECTIONS

       The foregoing general objections and the following specific objections and responses are

based on the Defendants’ interpretation of the Plaintiffs’ interrogatories, requests for production,

and notices of deposition pursuant to Rule 30(b)(6), and on information reasonably available to

Defendants as of today. Defendants reserve the right to supplement these objections or responses

if the plaintiffs purport to interpret their requests differently than Defendants or if Defendants

discover new information supporting additional objections or responses. Defendants also reserve

the right to object to the admissibility of any information contained herein on the grounds of

relevance, proportionality, accessibility, materiality, or any other appropriate ground.




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III.    SPECIFIC OBJECTIONS & RESPONSES TO INTERROGATORIES

        INTERROGATORY NO. 1: Identify each DOGE Employee who has Accessed, has

been granted permission to Access, or has a pending request to Access, any Sensitive Systems at

Defendant Agencies, and for each, please provide:

        a.    The names of each Sensitive System that the DOGE Employee has been granted

              Access to;

        b.    The date that the DOGE Employee was granted permission to Access Sensitive

              Systems at Defendant Agencies;

        c.    The identity of any employee of Defendant Agencies who authorized the DOGE

              Employee to Access Sensitive Systems;

        d.    The name and description of each training program the DOGE Employee

              completed prior to being granted Access to each Sensitive System;

        e.    A summary of the actual usage of each Sensitive System by the DOGE Employee,

              including a description of the records reviewed, the purpose for which they were

              reviewed, any restrictions on the DOGE Employee’s Access, and whether any

              records were modified, copied, shared, or removed from Defendant Agencies’

              systems, and, if so, the identity of any person(s) with whom those records have been

              shared;

        f.    The name and a summary of the function of any software installed by, or caused to

              be installed by, the DOGE Employee on Agency networks or systems;

        g.    The names of each Sensitive System to which DOGE Employees have been denied

              access by Defendant Agencies; and




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        h.      The number of federal agencies that the DOGE Employee is concurrently detailed

                to or otherwise employed by.

        Objections:      Defendants object that these requests are not relevant to Plaintiffs’

forthcoming motion for a preliminary injunction because Defendants are no longer detailing USDS

employees to work at the Defendant Agencies. See Defs.’ Mot. for Reconsideration, ECF No. 51.

Defendants object that these requests are premature, as set forth in General Objection 2.

Defendants further object to this request to the extent it calls for privileged information, as set forth

in General Objection 4. Defendants further object to the term “DOGE Employee,” as set forth in

General Objection 5. Defendants further object to the term “Sensitive Systems,” as set forth in

General Objection 6. Defendants further object to the terms “Access” and “Accessed,” as set forth

in General Objection 7. Defendants further object to the terms “record” and “records,” as set forth

in General Objection 8. Defendants further object to the extent Plaintiffs seek information about

individuals who are no longer detailed to, or employed at, one of the Agency Defendants.

Defendants further object to subpart e on the grounds that “actual usage” is vague and ambiguous,

and that providing a summary of all usage of each Sensitive System by any DOGE Employee, as

described therein, is overbroad, unduly burdensome, and disproportionate to the needs of the case.

Defendants further object that the term “system” in subpart e and subpart f is undefined, and

therefore vague and ambiguous. Defendants further object that the term “networks” in subpart f

is vague and ambiguous.

        Subject to, and without waiving, the General and Specific objections asserted, Defendant

Agencies answer the interrogatory as follows:

        A.      Response as to the U.S. Department of Health and Human Services

        HHS’s response reflects its current knowledge as of the date of service of this interrogatory.

HHS reserves the right to amend this response to the extent it learns of additional facts that might alter or

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change any of the information provided below. The individuals listed below have an employment

relationship with the U.S. DOGE Service (USDS) beginning on January 20, 2025 or after.

        Amy Gleason

        Amy Gleason is the only HHS employee that is also an employee of DOGE who has been granted

permission to access sensitive systems at the agency.

        Ms. Gleason was granted read-only access to the Centers for Medicare and Medicaid Services

(CMS) Acquisition Lifecycle Modernization (CALM) contract writing system on February 24, 2025, by

the Chief Information Officer, CMS Office of Information Technology. Ms. Gleason has accessed

CALM in furtherance of Executive Order 14,158 titled “Establishing and Implementing the President’s

‘Department of Government Efficiency’” (DOGE) (hereinafter “the DOGE EO”). The DOGE EO directs

the USDS to identify waste, fraud, and abuse and to modernize government technology and software to

increase efficiency and productivity. Ms. Gleason has not modified, copied, shared, or removed any

records from any of these systems.

        There are currently no pending requests to grant Ms. Gleason access to other sensitive systems at

HHS or CMS, nor has Ms. Gleason been denied access to any systems at HHS or CMS.

        As part of her onboarding process at HHS/CMS, Ms. Gleason completed computer-based training

(CBT) on the proper management of CMS systems and operating within the CMS network; HHS

Information Systems Security and Privacy Awareness Training; acknowledged the Rules of Behavior for

General Users v. 3.0; and acknowledged under penalty of perjury that she will adhere to the Privacy Act

and other HHS rules of behavior upon receipt of her HHS access card.

        Ms. Gleason has neither installed nor requested to be installed any unapproved software on HHS

or CMS networks or systems.

        Luke Farritor

        Luke Farritor is an employee of the General Services Administration (GSA) and has been detailed

to HHS since January 21, 2025, in furtherance of the DOGE EO. Mr. Farritor is also detailed to USDS



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from GSA.

      Mr. Farritor has been granted permission to access the following Sensitive Systems at HHS:

      1.     Payment Management System (PMS) on January 22, 2025, by the Chief Technology

             Officer, Program Support Center;

      2.     GrantSolutions on January 27, 2025, by the Director, Security and Data Project

             Management Office, HHS Office of Grants;

      3.     Healthcare Integrated General Ledger Accounting System (HIGLAS) on January 31,

             2025 by the Chief Information Officer, CMS Office of Information Technology;

      4.     HHS Consolidated Acquisition System (HCAS) on January 29, 2025, by the Executive

             Director, Strategic Programs and Business Systems at the Office of the Assistant

             Secretary for Financial Resources (ASFR);

      5.     CMS Acquisition Lifecycle Modernization (CALM) system on February 3, 2025, by the

             Chief Information Officer, CMS Office of Information Technology;

      6.     Integrated Data Repository (IDR) at CMS on February 18, 2025, by the Chief

             Information Officer, CMS Office of Information Technology;

      7.     NIH’s grants management system (eRA) on January 27, 2025, by the NIH Office of the

             Chief Information Officer;

      8.      Enterprise Human Capital Management System (EHCM) on February 28, 2025, by the

              Human Resources Information System Security Officer;

      9.     Integrated Contracts Expert (ICE) system at CDC on January 30, 2025, by the CDC’s

             Office of the Chief Information Officer;

      10.    Acquisition Performance and Execution (APEX) system at CDC on February 4, 2025, by

             the CDC’s Office of the Chief Information Officer;

      11.    NIH Business System EBS and PRISM systems on February 28, 2025, by the NIH’s

             Office of the Chief Information Officer; and



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        12.     Grants.gov on March 21, 2025, by the Assistant Secretary for Financial Resources

                (ASFR).

Mr. Farritor has been granted administrator privileges for PMS, EHCM, Grants.gov, and HCAS by the

system owners of these systems, otherwise his access to the other listed systems above is read-only.

        Mr. Farritor accessed EBS, PMS, Grants.gov, and eRA in furtherance of the DOGE EO’s

directive to identify waste, fraud, and abuse and to modernize government technology and software to

increase efficiency and productivity. Mr. Farritor has not modified, copied and shared with any

unauthorized users, or removed any records from any of these systems.

        There are currently no pending requests to grant Mr. Farritor access to other sensitive systems at

HHS, nor has Mr. Farritor been denied access to any systems at HHS.

        As part of his onboarding process at HHS, Mr. Farritor acknowledged the Rules of Behavior for

General Users; the Rules of Behavior for Privileged Users; a security briefing for HIGLAS; completed

IDR computer-based training; and completed Cybersecurity training. In addition, Mr. Farritor completed

Information Security and Information Management Training at NIH.

        Mr. Farritor has neither installed nor requested to be installed any unapproved software on HHS

networks or systems. Mr. Farritor has been involved in standard software development activities inside

the HHS internal cloud environment.

        Edward Coristine

        Edward Coristine is an employee of the General Services Administration (GSA) and has been

detailed to HHS since March 5, 2025, in furtherance of the DOGE EO. Mr. Coristine is also detailed to

USDS from GSA.

        Mr. Coristine has been granted permission to access the following Sensitive Systems at HHS:

        1.      Healthcare Integrated General Ledger Accounting System (HIGLAS) on March 5, 2025,

                by the Chief Information Officer, CMS Office of Information Technology;

        2.      Integrated Data Repository (IDR) at CMS on March 11, 2025, by the Chief Information

                Officer, CMS Office of Information Technology; and

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        3.      CMS Acquisition Lifecycle Modernization (CALM) contract writing system on March 5,

                2025, by the Chief Information Officer, CMS Office of Information Technology.

        Mr. Coristine was granted read-only access to the above-listed systems in furtherance of the

DOGE EO’s directive to identify waste, fraud, and abuse and to modernize government technology and

software to increase efficiency and productivity. Mr. Coristine’s access to the above-referenced systems

has been disabled. Mr. Coristine has not modified, copied and shared with unauthorized users, or removed

any records from the PMS system.

        Mr. Coristine has not been granted access to any other HHS systems. In addition, there are

currently no pending requests to grant Mr. Coristine access to other sensitive systems at HHS, nor has Mr.

Coristine been denied access to any systems at HHS.

        As part of his onboarding process at HHS, Mr. Coristine acknowledged the Rules of Behavior for

General Users, and completed Cybersecurity training.

        Mr. Coristine has neither installed nor requested to be installed any unapproved software on HHS

networks or systems. Mr. Coristine has been involved in standard software development activities inside

the HHS internal cloud environment.

        Marko Elez

        Marko Elez is an employee of the Department of Labor (DOL) and has been detailed to HHS

since March 5, 2025, in furtherance of the DOGE EO. Mr. Coristine is also detailed to USDS from DOL.

        Mr. Elez has been granted permission to access the following Sensitive Systems at HHS:

        1.      National Directory of New Hires (NDNH) database on March 6, 2025, by the

                Administration for Children and Families (ACF) Chief Technology Officer;

        2.      Healthcare Integrated General Ledger Accounting System (HIGLAS) on March 5, 2025,

                by the Chief Information Officer, CMS Office of Information Technology;

        3.      Integrated Data Repository (IDR) at CMS on March 5, 2025, by the Chief Information

                Officer, CMS Office of Information Technology; and



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          4.      CMS Acquisition Lifecycle Modernization (CALM) contract writing system on March 5,

                  2025, by the Chief Information Officer, CMS Office of Information Technology.

          Mr. Elez was granted read-only access to the above-listed systems in furtherance of the DOGE

EO’s directive to identify waste, fraud, and abuse and to modernize government technology and software

to increase efficiency and productivity. Mr. Elez’s access to the above-referenced CMS systems has been

disabled. Mr. Elez has not modified, copied and shared with any unauthorized users, or removed any

records from any of the systems he has actually accessed.

          There are currently no pending requests to grant Mr. Elez access to other sensitive systems at

HHS, nor has Mr. Elez been denied access to any systems at HHS.

          As part of his onboarding process at HHS, Mr. Elez acknowledged the Rules of Behavior for

General Users, the Rules of Behavior for the Office of Child Support Enforcement, completed

Cybersecurity training, and received training from the Office of Child Support Services on navigating the

screens to get to the NDNH database.

          Mr. Elez has neither installed nor requested to be installed any software on HHS networks or

systems.

          Kyle Schutt

          Kyle Schutt is an employee of the General Services Administration (GSA) and has been detailed

to the Administration for Children and Families (ACF) at HHS since March 14, 2025, in furtherance of

the DOGE EO. Mr. Schutt is also detailed to USDS from GSA.

          Mr. Schutt has been granted read-only access to the Unaccompanied Alien Children (UAC) Portal

on March 21, 2025, by the ACF Chief Technology Officer. Mr. Schutt was granted read-only access to

the UAC Portal in furtherance of the DOGE EO’s directive to identify waste, fraud, and abuse and to

modernize government technology and software to increase efficiency and productivity. Mr. Schutt has

not modified, copied and shared with any unauthorized users, or removed any records from the UAC

Portal.

          Mr. Schutt has not been granted access to any other HHS systems. In addition, there are currently

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no pending requests to grant Mr. Schutt access to other sensitive systems at HHS, nor has Mr. Schutt been

denied access to any systems at HHS.

        As part of his onboarding process at HHS, Mr. Schutt acknowledged the Rules of Behavior for

General Users, Rules of Behavior of Privilege Users, and completed Cybersecurity training. Mr. Schutt

has neither installed nor requested to be installed any software on HHS networks or systems.

HHS’s FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1 (April 4, 2025):

        HHS’s response reflects its current knowledge as of the date of service of this interrogatory.

HHS reserves the right to amend this response to the extent it learns of additional facts that might alter or

change any of the information provided below.

        Luke Farritor

        Mr. Farritor has modified Grants.gov by restricting access to certain accounts and removing

Notices of Funding Opportunity (NOFO).

        Mr. Farritor accessed HCAS in furtherance of the DOGE EO’s directive to identify waste, fraud,

and abuse and to modernize government technology and software to increase efficiency and productivity.

        Mr. Farritor’s access to HCAS has been deactivated.

        Edward Coristine

        Mr. Coristine was not granted access to the PMS system and therefore the statement in the

previous response that he “has not modified, copied and shared with unauthorized users, or removed any

records from the PMS system” was made in error.

        Marko Elez

        Mr. Elez’s access to NDNH has been deactivated.

        Mr. Elez has neither installed nor requested to be installed any unapproved software on HHS

networks or systems.

        Aram Moghaddassi

        Aram Moghaddassi is an employee of DOL and has been detailed to HHS since March 5, 2025,


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in furtherance of the DOGE EO, and has no employment relationship with DOGE.

        Mr. Moghaddassi has been granted permission to access the following Sensitive Systems at HHS:

        1.      GrantSolutions on February 19, 2025, by the Director, Security and Data Project

                Management Office, HHS Office of Grants;

        2.      National Directory of New Hires (NDNH) database on March 6, 2025, by the

                Administration for Children and Families (ACF) Chief Technology Officer;

        3.      CMS Acquisition Lifecycle Modernization (CALM) system on March 5, 2025, by the

                Chief Information Officer, CMS Office of Information Technology;

        4.      Integrated Data Repository (IDR) at CMS on March 5, 2025, by the Chief Information

                Officer, CMS Office of Information Technology; and

        5.      Healthcare Integrated General Ledger Accounting System (HIGLAS) on March 5, 2025,

                by the Chief Information Officer, CMS Office of Information Technology.

        Mr. Moghaddassi was granted read-only access to the above-listed systems. Mr. Moghaddassi’s

access to NDNH has been deactivated.

        Mr. Moghaddassi accessed CALM, IDR, and HIGLAS in furtherance of the DOGE EO’s

directive to identify waste, fraud, and abuse and to modernize government technology and software to

increase efficiency and productivity. Mr. Moghaddassi has not modified, copied and shared with any

unauthorized users, or removed any records from any of these systems. There are currently no pending

requests to grant Mr. Moghaddassi access to other sensitive systems at HHS, nor has Mr. Moghaddassi

been denied access to any systems at HHS.

        Mr. Moghaddassi acknowledged the Rules of Behavior for General Users, the Rules of Behavior

for Privileged Users, and completed Cybersecurity training.

        Mr. Moghaddassi has neither installed nor requested to be installed any unapproved software on

HHS networks or systems.

        Conor Fennessy

        Conor Fennessy is an employee of the Department of Education and has been detailed to HHS

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since February 20, 2025, in furtherance of the DOGE EO, and has no employment relationship with

USDS.

        Mr. Fennessy has been granted permission to access the following Sensitive Systems at HHS:

        1.      CMS Acquisition Lifecycle Modernization (CALM) system on March 3, 2025, by the

                Chief Information Officer, CMS Office of Information Technology;

        2.      Health Resources and Services Administration’s (HRSA’s) Electronic Handbooks

                (EHBs);

        3.      NIH Business System EBS and PRISM systems on February 28, 2025, by the NIH Office

                of the Chief Information Officer;

        4.      Financial Business Intelligence System (FBIS) on March 7, 2025, but was not granted

                access to view PII data, by the office of the Assistant Secretary for Financial Resources

                (ASFR);

        5.      Grants.gov on February 28, 2025, by the office of the ASFR;

        6.      HHS Consolidated Acquisition System (HCAS) on February 28, 2025, by Executive

                Director, Strategic Programs and Business Systems at the office of the ASFR; and

        7.      GrantSolutions on February 28, 2025, by the Director, Security and Data Project

                Management Office, HHS Office of Grants.

        Mr. Fennessy was granted read-only access to the above-listed systems. Mr. Fennessy’s access to

the CALM system, FBIS, HCAS, and NIH EBS System has been deactivated.

        Mr. Fennessy accessed HCAS, HRSA’s EHBs and the NIH Acquisition System in furtherance of

the DOGE EO’s directive to identify waste, fraud, and abuse and to modernize government technology

and software to increase efficiency and productivity. Mr. Fennessy has not modified, copied and shared

with any unauthorized users, or removed any records from any of these systems. There are currently no

pending requests to grant Mr. Fennessy access to other sensitive systems at HHS, nor has Mr. Fennessy

been denied access to any systems at HHS.

        Mr. Fennessy acknowledged the Rules of Behavior for General Users, completed NIH Remote

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Access and Security Training, and completed Cybersecurity training.

        Mr. Fennessy has neither installed nor requested to be installed any unapproved software on HHS

networks or systems.

        Jeremy Lewin

        Jeremy Lewin is an employee of GSA and has been detailed to HHS since February 21, 2025, in

furtherance of the DOGE EO, and has no employment relationship with USDS.

        Mr. Lewin has been granted permission to access the following Sensitive Systems at HHS:

        1.     GrantSolutions on February 28, 2025, by the Director, Security and Data Project

               Management Office, HHS Office of Grants;

        2.     CMS Acquisition Lifecycle Modernization (CALM) system on March 3, 2025, by the

               Chief Information Officer, CMS Office of Information Technology; and

        3.     Health Resources and Services Administration’s (HRSA’s) Electronic Handbooks

               (EHBs).

        Mr. Lewin was granted read-only access to the above-listed systems. Mr. Lewin’s access to the

CALM system has been deactivated.

        Mr. Lewin accessed HRSA’s EHBs in furtherance of the DOGE EO’s directive to identify waste,

fraud, and abuse and to modernize government technology and software to increase efficiency and

productivity. Mr. Lewin has not modified, copied and shared with any unauthorized users, or removed

any records from any of these systems. There are currently no pending requests to grant Mr. Lewin

access to other sensitive systems at HHS, nor has Mr. Lewin been denied access to any systems at HHS.

        Mr. Lewin acknowledged the Rules of Behavior for General Users and completed Cybersecurity

training.

        Mr. Lewin has neither installed nor requested to be installed any unapproved software on HHS

networks or systems.

        Zach Terrell



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        Zach Terrell is an employee of HHS since March 6, 2025, and has no employment relationship

with USDS.

        Mr. Terrell has been granted permission to access the following Sensitive Systems at HHS:

        1.      Integrated Data Repository (IDR) at CMS on March 11, 2025, by the Chief Information

                Officer, CMS Office of Information Technology;

        2.      Health Resources and Services Administration’s (HRSA’s) Electronic Handbooks

                (EHBs);

        3.      Enterprise Human Capital Management (EHCM) on March 7, 2025, by the HR

                Information System Security Officer;

        4.      Payment Management System (PMS) on March 27, 2025, by the Chief Technology

                Officer, Program Support Center;

        5.      HHS Unified Financial Management System (UFMS), but only the application and not

                the database, on March 18, 2025, by the office of the Assistant Secretary for Financial

                Resources (ASFR); and

        6.      Financial Business Intelligence System (FBIS), but only the application and not the

                database and was not granted access to view PII data, on or about March 16, 2025, by the

                office of the ASFR.

        Mr. Terrell was granted read-only access to the above-listed systems.

        Mr. Terrell accessed IDR, HRSA’s EHBs, and PMS in furtherance of the DOGE EO’s directive

to identify waste, fraud, and abuse and to modernize government technology and software to increase

efficiency and productivity. Mr. Terrell has not modified, copied and shared with any unauthorized users,

or removed any records from any of these systems. There are currently no pending requests to grant Mr.

Terrell access to other sensitive systems at HHS, nor has Mr. Terrell been denied access to any systems at

HHS.

        Mr. Terrell acknowledged the Rules of Behavior for General Users, the Rules of Behavior for

Privileged Users, and completed Cybersecurity training.

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        Mr. Terrell has neither installed nor requested to be installed any unapproved software on HHS

networks or systems.

        Rachel Riley

        Rachel Riley is an employee of HHS since January 27, 2025, and has no employment relationship

with USDS.

        Ms. Riley has been granted permission to access the following Sensitive Systems at HHS:

        1. CMS Acquisition Lifecycle Modernization (CALM) system on February 3, 2025, by the

             Chief Information Officer, CMS Office of Information Technology;

        2. NIH Business System EBS and PRISM systems on February 24, 2025, by the NIH Office of

             the Chief Information Officer;

        3. Enterprise Human Capital Management (EHCM) on February 3, 2025, by the Office of the

             Chief Information Officer;

        4. Financial Business Intelligence System (FBIS) on February 4, 2025, but was not granted

             access to view PII data, by the office of the Assistant Secretary for Financial Resources;

        5. GrantSolutions on February 20, 2025, by the Director, Security and Data Project

             Management Office, HHS Office of Grants;

        6. HHS Consolidated Acquisition System (HCAS) on February 3, 2025, by Executive Director,

             Strategic Programs and Business Systems at ASFR; and

        7. Business Intelligence Information System on February 6, 2025, by the Office of the Chief

             Information Officer.

        Ms. Riley was granted administrator privileges for HCAS, and read-only access to the other

systems listed above. Ms. Riley’s access to HCAS has been deactivated.

        Ms. Riley accessed HCAS, CALM, EHCM, and FBIS in furtherance of the DOGE EO’s directive

to identify waste, fraud, and abuse and to modernize government technology and software to increase

efficiency and productivity. Ms. Riley has not modified, copied and shared with any unauthorized users,

or removed any records from any HHS systems. There are currently no pending requests to grant Ms.

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Riley access to other sensitive systems at HHS, nor has Ms. Riley been denied access to any systems at

HHS.

        As part of her onboarding process at HHS, Ms. Riley acknowledged the Rules of Behavior for

General Users and completed Cybersecurity training. Ms. Riley also completed the NIH Information

Security and Information Management Training; the 2024 Information Security and Management

Refresher; Remote Access and Security Training; and acknowledged the NIH Access/Disclosure

Agreement for the Office of Human Resources.

        Ms. Riley has neither installed nor requested to be installed any unapproved software on HHS

networks or systems.

        Brad Smith

        Brad Smith is an HHS employee as of March 4, 2025, and is also an employee of DOGE. Mr.

Smith has not been granted permission to access any HHS Sensitive Systems.

        B.      Revised Response as to the U.S. Department of Labor

        Marko Elez

        Mr. Elez is the only DOL employee who has an employment relationship with USDS and

who has been granted permission to access sensitive systems at the agency.

        Mr. Elez has been granted permission to access four sensitive systems: (i) USAccess on

February 25, 2025, by Troy Finnegan, Former Assistant Secretary for Administration and

Management; (ii) DOL Homeland Security Presidential Directive 12 (HSPD-12) Enterprise

Physical Access Control System (EPACS) on February 25, 2025, by Troy Finnegan, Former

Assistant Secretary for Administration and Management; (iii) DOL Directory Resource

Administrator (DRA) on February 25, 2025, by Troy Finnegan, Former Assistant Secretary for

Administration and Management; and (iv) Unemployment Insurance Data and Related Records on

March 21, 2025, by Thomas Shedd, Chief Information Officer.



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          Mr. Elez was granted access to the above-listed systems in furtherance of the directive in

Executive Order 14,158 (the USDS EO) to identify waste, fraud, and abuse and to modernize

government technology and software to increase efficiency and productivity. To gain access to

the systems, Mr. Elez signed Rules of Behavior for each system. As of March 26, 2025, Mr. Elez

has not accessed any of the systems.

          Mr. Elez has installed, or caused to be installed, two programs on DOL systems, Visual

Studio Code, a code editor, and Python, a programming language.

          Mr. Elez has been denied access to two systems: (i) ASAP.gov and (ii) Adobe Licensing

Portal.

          DOL is aware of four other agencies at which Mr. Elez is concurrently detailed to or

otherwise employed, other than USDS.Aram Moghaddassi

          Mr. Moghaddassi does not have an employment relationship with USDS, but is a member

of DOL’s DOGE Team. Mr. Moghaddassi is an employee of the Department of Labor.

          Mr. Moghaddassi has been granted permission to access five sensitive systems: (i)

USAccess on February 26, 2025, by Troy Finnegan, Former Assistant Secretary for Administration

and Management; (ii) DOL Homeland Security Presidential Directive 12 (HSPD-12) Enterprise

Physical Access Control System (EPACS) on February 26, 2025, by Troy Finnegan, Former

Assistant Secretary for Administration and Management; (iii) HR Connect on February 19, 2025,

by Troy Finnegan, Former Assistant Secretary for Administration and Management; (iv) New Core

Financial Management System (NCFMS) on February 20, 2025, by Troy Finnegan, Former

Assistant Secretary for Administration and Management, (v) Unemployment Insurance Data and

Related Records on March 21, 2025, by Thomas Shedd, Chief Information Officer.




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       Mr. Moghaddassi was granted access to the above-listed systems in furtherance of the

directive in Executive Order 14,158 (the USDS EO) to identify waste, fraud, and abuse and to

modernize government technology and software to increase efficiency and productivity. In order

to gain access to the systems, Mr. Moghaddassi signed Rules of Behavior for each system. DOL

believes that Mr. Moghaddassi has accessed all these systems.

       As of April 3, 2025, Mr. Moghaddassi has not installed or caused to be installed any

software on DOL systems.

       Mr. Moghaddassi has been denied access to two systems: (i) ASAP.gov and (ii) Adobe

Licensing Portal.

       DOL is aware of four other agencies at which Mr. Moghaddassi is concurrently detailed to

or otherwise employed.

       Miles Collins

       Mr. Collins does not have an employment relationship with USDS, but is a member of

DOL’s DOGE Team. Mr. Collins is an employee of the Department of Labor.

       Mr. Collins has been granted permission to access five sensitive systems: (i) Payment

Management System (PMS), an HHS shared service system used by DOL to process grant

payments. DOL believes that HHS granted access to the system, (ii) Office of Job Corps Electronic

Information System (OJC EIS) on March 20, 2025, by Dean Heyl, Assistant Secretary for

Administration and Management; (iii) HR Connect on February 19, 2025, by Troy Finnegan,

Former Assistant Secretary for Administration and Management; (iv) DOL Directory Resource

Administrator (DRA) on February 26, 2025, by Troy Finnegan, Former Assistant Secretary for

Administration and Management, and (v) New Core Financial Management System (NCFMS) on




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February 20, 2025, by Troy Finnegan, Former Assistant Secretary for Administration and

Management.

          Mr. Collins was granted access to the above-listed systems in furtherance of the directive

in Executive Order 14,158 (the USDS EO) to identify waste, fraud, and abuse and to modernize

government technology and software to increase efficiency and productivity. In order to gain

access to the systems, Mr. Colins signed Rules of Behavior for DRA, HR Connect and NCFMS.

For OJC EIS Rules of Behavior are completed as part of the initial login. DOL is unaware of

whether Rules of Behavior were signed for PMS. As of April 3, 2025, Mr. Collins has accessed

PMS, OJC EIS, and is not sure whether he has accessed HR Connect. Mr. Collins has not accessed

DRA and NCFMS.

          Mr. Collins has been denied access to two systems: (i) ASAP.gov and (ii) Adobe Licensing

Portal.

          DOL is not aware of any other agencies at which Mr. Collins is concurrently detailed to or

otherwise employed.

          C.     Revised Response as to the Consumer Financial Protection Bureau

          Jordan Wick: Mr. Wick is a CFPB employee and an employee of USDS. He was onboarded

as a CFPB employee on March 5 (while remaining an employee of USDS). Prior to that, he was

detailed to the CFPB from USDS.

          Christopher Young: Mr. Young is detailed from the Office of Personnel Management to

CFPB. Mr. Young is also detailed to USDS.

          Gavin Kliger: Mr. Kliger is detailed from the Office of Personnel Management to CFPB.

          Jeremy Lewin: Mr. Lewin is detailed from the General Services Administration to CFPB.

          Nikhil Rajpal: Mr. Rajpal was detailed from the Office of Personnel Management to CFPB

until March 21, 2025. Mr. Rajpal was also detailed to USDS.
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       Luke Farritor: Mr. Farritor was detailed from the Government Services Administration to

CFPB until March 4, 2025. Mr. Farritor was also detailed to USDS.

       As to part a:

       Jordan Wick: Mr. Wick was granted access to the following Sensitive Systems: Entra ID,

Procurement Request Information System Management (PRISM), HRConnect, webTA, Data

Insight, USAStaffing, Invoice Processing Platform (IPP), Oracle Business Intelligence (OBI),

oneARC, G-Invoicing, and Concur. Mr. Wick was also authorized to access, but was not

ultimately granted access, to Active Directory and Physical Access Control.

       Christopher Young: Mr. Young was not granted access to any Sensitive Systems.

       Gavin Kliger: Mr. Kliger was granted access to Active Directory, Entra ID, and Physical

Access Control.

       Jeremy Lewin: Mr. Lewin was not granted access to any Sensitive Systems.

       Nikhil Rajpal: Mr. Rajpal was authorized to access, but was not ultimately granted access

to, Active Directory, Entra ID, and Physical Access Control.

       Luke Farritor: Mr. Farritor was granted access to Active Directory and Entra ID. Mr.

Farritor was also authorized to access but was not ultimately granted access to Physical Access

Control.

       As to part b:

       Jordan Wick: Mr. Wick was granted permission to access the Sensitive Systems listed

above on February 7, except for Entra ID, the permission for which was granted on February 9.

       Gavin Kliger: Mr. Kliger was granted permission to access the Sensitive Systems listed

above on February 7.

       Nikhil Rajpal: Mr. Rajpal was granted permission to access the Sensitive Systems listed



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above on February 7.

       Luke Farritor: Mr. Farritor was granted permission to access the Sensitive Systems listed

above on February 7.

       As to part c:

       Chris Chilbert, Chief Information Officer, authorized Mr. Wick’s, Mr. Klinger’s, Mr.

Rajpal’s, and Mr. Farritor’s access to Active Directory, Entra ID, and Physical Access Control. In

addition, the following CFPB staff authorized Mr. Wick’s access to the other Sensitive Systems

referenced above: Joshua Galicki of the Office of Finance and Procurement approved access to

PRISM; Nikki L. DiPalma of the Office of Human Capital approved access to HRConnect,

webTA, Data Insight, and USAStaffing; Antona Bailey of the Office of Finance and Procurement

approved access to the IPP, OBI, and oneARC systems; Sheryl Kidd of the Office of Finance and

Procurement approved access to G-Invoicing; and Regina Braham of the Office of Finance and

Procurement approved access to Concur.

       As to part d:

       All six individuals listed above completed Privacy training, which was administered by the

CFPB’s Chief Privacy Officer on February 7, 2025, using the PowerPoint produced in response to

document request 5. Mr. Wick, Mr. Young, Mr. Kliger, and Mr. Rajpal also completed the

Bureau’s Cybersecurity Awareness Training within 30 days of onboarding, as set forth in Bureau

policy. Mr. Farritor completed his detail before his Cybersecurity Awareness Training was

required to be completed, as detailed in the document titled Cybersecurity Training Overview. Mr.

Lewin did not complete Cybersecurity Awareness Training.

       Mr. Wick, Mr. Young, Mr. Kliger, Mr. Lewin, and Mr. Farritor also certified in their

respective Detailee Certifications of Compliance that their access to CFPB systems would be



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conducted in compliance with all relevant federal security, ethics, and confidentiality laws,

regulations, and policies, including CFPB records management and information security

requirements.

       Additionally, the MOU agreement for Mr. Rajpal’s detail assignment provided that he

would not knowingly access CFPB systems in a manner that fails to comply with all relevant

federal, security, ethics, and confidentiality laws, regulations, and policies, including the CFPB

records management and information security requirements.

       As to part e:

       Jordan Wick: Mr. Wick accessed Entra ID, which operates to govern access for users in

the Microsoft environment, to assess the system’s capabilities and the level of access granted. In

addition, pursuant to a direction from a CFPB official to Mr. Wick to send an email with specified

contents using that official’s email address, Mr. Wick used the EntraID system to authorize himself

to send that email using that official’s email address. There were no restrictions on Mr. Wick’s

access to Entra ID until March 5, at which point access was removed.

       Mr. Wick used PRISM, the CFPB’s procurement system for managing contracts, to review

the CFPB’s contracts. He had read-only access and thus could not modify or terminate any

contracts in that system. On March 28, 2025, Mr. Wick’s access to PRISM was removed pursuant

to a court order in American Federation of Teachers et al. v Bessent et al., No. 8:25-cv-430 (D.

Md. Mar. 28, 2025).

       Mr. Wick had read-only access to IPP, OBI, and oneARC systems, which contain

information regarding the CFPB’s finances. He used these systems to assess the systems’

capabilities and the level of access granted. He did not have the ability to change the underlying

data in any of these systems. Mr. Wick had the ability to run reports in OBI, and did so to review



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information on existing contracts. On March 28, 2025, Mr. Wick’s access to IPP, OBI, and

oneARC was removed pursuant to the court order noted above.

       Mr. Wick had read-write-delete access to HRConnect, the CFPB’s primary human resource

system. With support from a CFPB HR official, Mr. Wick used this access to assess the system’s

capabilities and learn its functions. He did not alter any records. Mr. Wick used Data Insight,

which is a read-only reporting system, to review the names of CFPB employees and the divisions

in which they work. Mr. Wick had view-only access to USA Staffing, which allowed him to see

information related to vacancies and new hires. Mr. Wick used this system to access whether any

CFPB staff were hired after the imposition of the federal hiring freeze. On March 28, 2025, Mr.

Wick’s access to HRConnect, Data Insight, and USA Staffing was removed pursuant to the court

order noted above.

       While authorized, Mr. Wick was not granted access to the Physical Access Control system.

Nor does the CFPB have any record that Mr. Wick ever accessed G-Invoicing, webTA, or Concur.

On March 28, 2025, Mr. Wick’s access to G-Invoicing, webTA, and Concur was removed pursuant

to the court order noted above. Mr. Wick did not copy, share, or remove information outside of

these systems.

       Finally, until March 5, Mr. Wick had sufficient permission rights to grant himself and

others access to systems containing both market monitoring information and supervision,

enforcement and fair lending data. Mr. Wick did not, however, grant himself or others such access.

       Christopher Young: Mr. Young was not granted access to any Sensitive Systems.

       Gavin Kliger: Mr. Kliger logged into Physical Access Control once, to confirm his access

and to receive a tutorial on the system. Mr. Kliger did not ultimately use that system. And while

granted access, Mr. Kliger never ultimately accessed Active Directory or Entra ID. Finally, until



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February 8, Mr. Kliger had sufficient permission rights to grant himself and others access to

systems containing both market monitoring information and supervision, enforcement and fair

lending data. Mr. Kliger did not, however, grant himself or others such access. Mr. Kliger did not

have access to any other Sensitive Systems. Mr. Kliger did not copy, share, or remove information

outside these systems.

          Jeremy Lewin: Mr. Lewin was not granted access to any Sensitive Systems.

          Nikhil Rajpal: While authorized, Mr. Rajpal was not ultimately granted access to any

Sensitive Systems.

          Luke Farritor: Mr. Farritor used Entra ID to provide access to Gavin Kliger to the systems

necessary to update the CFPB’s public-facing website. Mr. Farritor logged into Active Directory

to confirm his access but did not ultimately use that system. Mr. Farritor did not copy, share, or

remove information outside these systems. Mr. Farritor did not have access to any other Sensitive

Systems. Prior to his departure, Mr. Farritor had sufficient permission rights to grant himself and

others access to systems containing both market monitoring information and supervision,

enforcement and fair lending data. Mr. Farritor did not, however, grant himself or others such

access.

          As to part f:

          The six individuals described in this response were not granted the permission to install or

cause to be installed any software on the CFPB’s networks or systems. The CFPB is not aware of

any evidence that these individuals installed or caused to be installed any software on the CFPB’s

networks or systems.

          As to part g:

          CFPB officials approved access to each system requested by Mr. Wick over which CFPB



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officials had authority to approve access to. There were several systems, however, that Mr. Wick

requested access to that are maintained by the Department of Treasury’s Bureau of Fiscal Services

and that the CFPB does not utilize. Access to those system—specifically, OneStream and

Oracle—was denied.

       As to part h:

       The CFPB does not maintain information on DOGE Employees’ concurrent details. On

information and belief, Mr. Rajpal has been detailed to two federal agencies besides the CFPB and

USDS; Mr. Farritor has been detailed to at least four federal agencies besides the CFPB and USDS;

Jordan Wick is an employee at one other agency and detailed to at least six agencies besides CFPB

and USDS; Mr. Kliger has been detailed to nine federal agencies besides the CFPB; and Mr. Lewin

has been detailed to four federal agencies besides his home agency and the CFPB.

       INTERROGATORY NO. 2: With respect to structure of DOGE and the relationship

between DOGE and DOGE Employees detailed to Defendant Agencies,

       i.     Identify the individual who has been appointed to or is, in fact, serving in the role

              of the USDS Administrator, as that term is used in Section 3(b) of Executive Order

              14158.

       j.     Identify any individual(s) within DOGE or the Executive Office of the President

              who exercises authority over government-wide DOGE operations, including with

              respect to the following decisions:

              i.       Which agencies a DOGE Employee will be detailed or otherwise deployed

                       to;

              ii.      Which DOGE Employees to deploy to each agency;




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       iii.   How a DOGE Employee should implement the President’s “DOGE

              Agenda” at agencies, including the scope of work to be performed at

              agencies; and

       iv.    How a DOGE Employee should resolve conflicts with employees of

              Defendant Agencies concerning the scope of the authority DOGE

              Employees may exercise at the agencies or the scope of the DOGE

              Employee’s access to the Sensitive Systems of one of the Defendant

              Agencies.

 k.    If there are multiple individuals within the Executive Office of the President who

       exercise authority related to the detailing or deployment of DOGE Employees to

       Defendant Agencies, please (i) identify all such individuals and (ii) describe the

       scope of their authority.

 l.    Identify the circumstances under which information gathered from Sensitive

       Systems may be shared between a DOGE Employee detailed or otherwise deployed

       to one of the Defendant Agencies and any persons not employed by Defendant

       Agencies, such as DOGE Employees detailed to or otherwise employed by different

       agencies (even if the different agency is also one of the Defendant Agencies),

       DOGE Employees not detailed to or otherwise employed by any agency, employees

       at other federal agencies or within the White House Executive Office of the

       President, or individuals who are not government employees;

 m.    Identify the individual(s) within the federal government who have the authority to

       supervise, discipline, terminate, or reinstate a DOGE Employee who has been

       detailed to or is otherwise employed by one of the Defendant Agencies.



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        Objections:     Defendants object that these requests are not relevant to Plaintiffs’

forthcoming motion for a preliminary injunction because Defendants are no longer detailing USDS

employees to work at the Defendant Agencies. See Defs.’ Mot. for Reconsideration, ECF No. 51.

Defendants further object that these requests are premature, as set forth in General Objection 2.

Defendants further object to this request to the extent it calls for privileged information, as set forth

in General Objection 4. Defendants further object to the term “DOGE Employee,” as set forth in

General Objection 5. Defendants further object to the term “Sensitive Systems,” as set forth in

General Objection 6.

        Defendants further object to the extent Plaintiffs seek information about individuals who

are no longer detailed to, or employed at, one of the Agency Defendants. Defendants further object

to subpart j on the grounds that it seeks evidence about USDS’s practices at agencies other than

CFPB, HHS, and DOL, which is not relevant to Plaintiffs’ forthcoming preliminary injunction

motion and would impose burdens disproportionate to the needs of the case. Defendants further

object that the phrase “exercises authority” in subpart j and subpart k, and the term “authority” in

subpart m, are vague and ambiguous. Defendants recognize Plaintiffs’ email of April 1, 2025,

redefining “authority” to mean “actual authority.” Defendants believe this definition is still vague

and ambiguous. Defendants will interpret this newly defined term to encompass two concepts:

“formal legal authority” and “authority” defined to mean the “[p]ower or right to give orders, make

decisions,    and     enforce     obedience.”           Authority,   Oxford     English     Dictionary,

https://www.oed.com/dictionary/authority_n?tab=meaning_and_use#33130898.                    Defendants

further object to part l on the basis that it calls for a legal conclusion as to “the circumstances under

which information gathered from Sensitive Systems may be shared between a DOGE Employee

detailed to one of the Defendant Agencies and any persons not employed by Defendant Agencies,”



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which are determined by statutes such as the Privacy Act. Defendants further object to subparts j

and k because USDS, and not the Executive Office of the President more broadly, is the only

named defendant in this action. Defendants further object to subpart l because it requires

Defendants to speculate about unspecified “circumstances under which information gathered from

Sensitive Systems may be shared” with government employees, which depends upon the type of

information being shared, the system from which the information was taken, the identity of the

person or entity with whom the information is being shared, and the purpose for which the

information is shared.     As such, the request is overly broad, unduly burdensome, and

disproportionate to the needs of the case.

       A.      Response from USDS

       As to part i, Amy Gleason is Acting Administrator of USDS.

       As to part j, in her capacity as Acting Administrator of USDS, Ms. Gleason exercises

authority over detailing and deploying DOGE Employees from USDS to other agencies. This

includes executing detail agreements between USDS and other agencies. Whether an agency

chooses to onboard a USDS employee, or accept a detail, is up to that agency.

       Defendant Agency leadership determines how to implement the President’s “DOGE

Agenda” at each respective agency. This includes determining the scope of DOGE Employees’

access to Sensitive Systems and their authority at each agency.

       As to part k, see the response to Interrogatory 2(b), above.

       As to part l, information from Sensitive Systems may be shared to the extent needed to

facilitate the DOGE Agenda as implemented by the relevant agency and consistent with applicable

law, which may include, among other things, the Privacy Act, agency System of Records Notices,

and agency-specific restrictions.



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       As to part m, there are no USDS Employees detailed to Defendant Agencies. Defendant

Agency leadership is responsible for supervising, terminating, etc. a DOGE employee employed

by the relevant Defendant Agency in their capacity as an agency employee.

IV.    SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR
       PRODUCTION

       Request for Production 1: Copies of any nondisclosure agreements signed by DOGE

Employees detailed to or otherwise employed by Defendant Agencies, including but not limited

to the nondisclosure agreements referenced in the Declaration of Adam Martinez, ECF No. 31-3

¶ 6 and any similar agreements that may exist at other Defendant Agencies.

       Objections:    Defendants object that these requests are not relevant to Plaintiffs’

forthcoming motion for a preliminary injunction because Defendants are no longer detailing USDS

employees to work at the Defendant Agencies. See Defs.’ Mot. for Reconsideration, ECF No. 51.

Defendants further object that these requests are premature, as set forth in General Objection 2.

Defendants object to the term “DOGE Employee,” as set forth in General Objection 5. Defendants

further object to the terms “nondisclosure agreements” and “similar agreements” as they are

undefined and vague, as the parties may have different understandings of what constitutes such

agreements.

       Response: Subject to these objections, Defendants will, within the parameters of the

limited time frame for discovery the Court ordered, perform a reasonable and proportional search

for documents responsive to this request and produce responsive, non-privileged documents.

Defendants reserve the right to redact sensitive personally identifiable information from these

documents.

       Request for Production 2: Copies of any written agreements or certifications governing

or describing the detail of DOGE Employees to Defendant Agencies (or employment by DOGE


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Employees by Defendant Agencies), including but not limited to the detail agreements referenced

in the Declaration of Garey Rice, ECF No. 31-2 ¶ 7, the Martinez Decl., ECF No. 31-3 ¶ 8, the

memorandum of understanding that is in place between HHS and another federal agency, which

is referenced in the Rice Decl., ECF No. 31-2 ¶ 8, task orders describing DOGE’s responsibilities

in the declaration of Ricky J. Kryger, ECF No. 31-1 ¶ 5, detail agreements effectuating the DOGE

detail described in the Declaration of Adam Ramada, ECF No. 16-1 ¶ 6, and any other similar

agreements setting forth or describing the terms of DOGE’s work at Defendant Agencies.

       Objections:     Defendants object that these requests are not relevant to Plaintiffs’

forthcoming motion for a preliminary injunction because Defendants are no longer detailing USDS

employees to work at the Defendant Agencies. See Defs.’ Mot. for Reconsideration, ECF No. 51.

Defendants further object that these requests are premature, as set forth in General Objection 2.

Defendants further object to the term “DOGE Employee,” as set forth in General Objection 5.

Defendants further object to the terms “task orders” and “similar agreements” as they are undefined

and vague, as the parties may have different understandings of what constitutes such agreements.

       Response: Subject to these objections, Defendants will, within the parameters of the

limited time frame for discovery the Court ordered, perform a reasonable and proportional search

for documents responsive to this request and produce responsive, non-privileged documents.

Defendants reserve the right to redact sensitive personally identifiable information from these

documents

       Request for Production 3: Copies of any written guidelines for DOGE Employees’

access to Sensitive Systems, including but not limited to the guidelines referred to in the Kryger

declaration, ECF No. 31-1 ¶ 8, and any other similar guidelines that may exist at Defendant

Agencies.



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       Objections:     Defendants object that these requests are not relevant to Plaintiffs’

forthcoming motion for a preliminary injunction because Defendants are no longer detailing USDS

employees to work at the Defendant Agencies. See Defs.’ Mot. for Reconsideration, ECF No. 51.

Defendants further object that these requests are premature, as set forth in General Objection 2.

Defendants further object to the term “DOGE Employee,” as set forth in General Objection 5.

Defendants further object to the term “Sensitive Systems,” as set forth in General Objection 6.

Defendants further object to the term “guideline” as it is undefined and vague, as the parties may

have different understandings of what constitutes guidelines.

       Response: Subject to these objections, Defendants will, within the parameters of the

limited time frame for discovery the Court ordered, perform a reasonable and proportional search

for documents responsive to this request and produce responsive, non-privileged documents.

Defendants reserve the right to redact sensitive personally identifiable information from these

documents.

       Request for Production 4: Copies of any certifications or access agreements signed by

DOGE Employees or their supervisors in order to grant them access to Sensitive Systems,

including but not limited to the access agreements and Request to Access forms referenced to in

the Kryger declaration, ECF No. 31-1 ¶ 8, any written authorization referenced to in the Martinez

Decl., ECF No. 31-3 ¶ 9, and any other similar authorizations that may exist at Defendant

Agencies.

       Objections:     Defendants object that these requests are not relevant to Plaintiffs’

forthcoming motion for a preliminary injunction because Defendants are no longer detailing USDS

employees to work at the Defendant Agencies. See Defs.’ Mot. for Reconsideration, ECF No. 51.

Defendants further object that these requests are premature, as set forth in General Objection 2.



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Defendants further object to the term “DOGE Employee,” as set forth in General Objection 5.

Defendants further object to the term “Sensitive Systems,” as set forth in General Objection 6.

Defendants further object to the terms “certifications,” “access agreements,” and “similar

authorizations” as it is undefined and vague, as they are undefined and vague, as the parties may

have different understandings of what constitutes such agreements.

       Response: Subject to these objections, Defendants will, within the parameters of the

limited time frame for discovery the Court ordered, perform a reasonable and proportional search

for documents responsive to this request and produce responsive, non-privileged documents.

Defendants reserve the right to redact sensitive personally identifiable information from these

documents.

       Request for Production 5: Copies of any privacy and/or cyber security training materials

or documents provided to DOGE Employees on detail to Defendant Agencies, as referenced in in

[sic] the Martinez Decl., ECF No. 31-3 ¶ 6.

       Objections: Defendants object that these requests are not relevant to Plaintiffs’

forthcoming motion for a preliminary injunction because Defendants are no longer detailing USDS

employees to work at the Defendant Agencies. See Defs.’ Mot. for Reconsideration, ECF No. 51.

Defendants further object that these requests are premature, as set forth in General Objection 2.

Defendants further object to the term “DOGE Employee,” as set forth in General Objection 5.

Defendants further object to the extent that some trainings are only offered through online

modules, and within the time constraints of the Court’s order directing expedited discovery,

extracting such online modules into a producible format is overly burdensome and

disproportionate to the needs of Plaintiffs’ forthcoming motion for a preliminary injunction.




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       Response: Subject to these objections, Defendants will, within the parameters of the

limited time frame for discovery the Court ordered, perform a reasonable and proportional search

for documents responsive to this request and produce responsive, non-privileged documents.

Defendants reserve the right to redact sensitive personally identifiable information from these

documents.

       Request for Production 6: Copies of any “confidentiality protocols” established to

govern the access of DOGE Employees, as referenced in the Kryger declaration, ECF No. 31-1

¶ 9, and any other similar authorizations that exist at the Defendant Agencies.

       Objections:     Defendants object that these requests are not relevant to Plaintiffs’

forthcoming motion for a preliminary injunction because Defendants are no longer detailing USDS

employees to work at the Defendant Agencies. See Defs.’ Mot. for Reconsideration, ECF No. 51.

Defendants further object that these requests are premature, as set forth in General Objection 2.

Defendants further object to the term “DOGE Employee,” as set forth in General Objection 5.

Defendants object to the term “confidentiality protocols,” to the extent it includes documents

outside those outlined in the Kryger declaration, as vague, as the parties may have different

understandings of what constitutes such agreements.

       Response: Subject to these objections, Defendants will, within the parameters of the

limited time frame for discovery the Court ordered, perform a reasonable and proportional search

for documents responsive to this request and produce responsive, non-privileged documents.

Defendants reserve the right to redact sensitive personally identifiable information from these

documents.

       Request for Production 7: Copies of any documents or records in which the DOL Office

of the Chief Information Officer (“OCIO”) granted “specific approval” for users of “the data,



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information, or documents from DOL information systems . . . to share this data, information, or

documents outside of DOL information systems,” as referenced in the Kryger declaration, ECF

No. 31-1 ¶ 11, and any similar approvals granted at other Defendant Agencies. This request is

limited to approvals for the sharing of data, information, or records by or to a DOGE Employee.

       Objections:     Defendants object that these requests are not relevant to Plaintiffs’

forthcoming motion for a preliminary injunction because Defendants are no longer detailing USDS

employees to work at the Defendant Agencies. See Defs.’ Mot. for Reconsideration, ECF No. 51.

Defendants further object that these requests are premature, as set forth in General Objection 2.

Defendants further object to the term “DOGE Employee,” as set forth in General Objection 5.

Defendants object to the term “similar approvals” as vague, as the parties may have different

understandings of what constitutes such approvals.

       Response: Subject to these objections, Defendants will, within the parameters of the

limited time frame for discovery the Court ordered, perform a reasonable and proportional search

for documents responsive to this request and produce responsive, non-privileged documents.

Defendants reserve the right to redact sensitive personally identifiable information from these

documents.

IV.    SPECIFIC OBJECTIONS DEPOSITION NOTICES

       Objections to the Notices to the Defendant Agencies: Defendants object that the noticed

30(b)(6) depositions are not relevant to Plaintiffs’ forthcoming motion for a preliminary injunction

because Defendants are no longer detailing USDS employees to work at the Defendant Agencies.

See Defs.’ Mot. for Reconsideration, ECF No. 51. Defendants object that these notices are

premature, as set forth in General Objection 2. Defendants further object to the deposition notices

to the extent they call for testimony about privileged information, as set forth in General Objection

4. Defendants further object to the term “DOGE Employee,” as set forth in General Objection 5.
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Defendants further object to the term “Sensitive Systems,” as set forth in General Objection 6.

Defendants further object to the terms “Access” and “Accessed,” as set forth in General Objection

7. Defendants further object to the terms “record” and “records,” as set forth in General Objection

8. Defendants further object to the extent Plaintiffs seek information about individuals who are no

longer detailed to, or employed at, one of the Agency Defendants. Defendants further object that

the term “authority” in the second topic is vague and ambiguous. Defendants recognize Plaintiffs’

email of April 1, 2025, redefining “authority” to mean “actual authority.” Defendants believe this

definition is still vague and ambiguous. Defendants will interpret this newly defined term to

encompass two concepts: “formal legal authority” and “authority” defined to mean the “[p]ower

or right to give orders, make decisions, and enforce obedience.” Authority, Oxford English

Dictionary,      https://www.oed.com/dictionary/authority_n?tab=meaning_and_use#33130898.

Defendants further object to topic 3 on the grounds that “actual usage” is vague and ambiguous,

and that preparing witnesses on the usage of each Sensitive System by any DOGE Employee, as

described therein, is overbroad, unduly burdensome, and disproportionate to the needs of the case.

       Objections to Notice to USDS: Defendants object that the noticed 30(b)(6) depositions

are not relevant to Plaintiffs’ forthcoming motion for a preliminary injunction because Defendants

are no longer detailing USDS employees to work at the Defendant Agencies. See Defs.’ Mot. for

Reconsideration, ECF No. 51. Defendants object that these notices are premature, as set forth in

General Objection 2. Defendants further object to the deposition notices to the extent they call for

testimony about privileged information, as set forth in General Objection 4. Defendants further

object to the term “DOGE Employee,” as set forth in General Objection 5. Defendants further

object to the term “Sensitive Systems,” as set forth in General Objection 6. Defendants further

object to the terms “Access” and “Accessed,” as set forth in General Objection 7. Defendants



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further object to the terms “record” and “records,” as set forth in General Objection 8. Defendants

further object to the extent Plaintiffs seek information about individuals who are no longer detailed

to, or employed at, one of the Agency Defendants. Defendants further object that the term

“authority” in the second and third topics is vague and ambiguous. Defendants recognize

Plaintiffs’ email of April 1, 2025, redefining “authority” to mean “actual authority.” Defendants

believe this definition is still vague and ambiguous. Defendants will interpret this newly defined

term to encompass two concepts: “formal legal authority” and “authority” defined to mean the

“[p]ower or right to give orders, make decisions, and enforce obedience.” Authority, Oxford

English Dictionary, https://www.oed.com/dictionary/authority_n?tab=meaning_and_use#331308

98. Defendants further object to topic 3 on the grounds that “use” is vague and ambiguous, and

that preparing a witness on the use of each Sensitive System by any DOGE Employee, as described

therein, is overbroad, unduly burdensome, and disproportionate to the needs of the case.

                                          *      *       *

       As to the interrogatory responses, see the attached verifications.

       As to the objections and the responses to the requests for production,



Dated: April 4, 2025                  Respectfully submitted,

                                              YAAKOV M. ROTH
                                              Acting Assistant Attorney General
                                              Civil Division

                                              MARCIA BERMAN
                                              Assistant Branch Director
                                              Civil Division, Federal Programs Branch

                                              /s/ Bradley P. Humphreys
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                                CERTIFICATE OF SERVICE

       I certify that I served a true and correct copy of Defendants’ Objections and Responses to

Plaintiffs’ Requests for Expedited Discovery on counsel of record in this case via e-mail on April

4, 2025.


                                                    /s/ Bradley P. Humphreys
                                                    Bradley P. Humphreys
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